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                                                  U.S. Department of Justice
[Type text]
                                                     United States Attorney
w                                                    Southern District of New York

                                                     86 Chambers Street
                               05/09/2025            New York, New York 10007

                                                   May 8, 2025
By ECF                            The Court thanks the parties for this status update. The
The Honorable Katharine H. Parker parties shall file their next status update on June 9, 2025.
United States Magistrate Judge
Southern District of New York
500 Pearl Street
New York, New York 10007                                                          05/09/2025

       Re:     International Refugee Assistance Project, Inc. v. United States Citizenship and
               Immigration Services, et al., No. 23 Civ. 1236 (KHP)

Dear Judge Parker:

         This Office represents Defendants United States Citizenship and Immigration Services
(“USCIS”) and the Department of State (“State,” and together with USCIS, the “Government”) in
the above-referenced Freedom of Information Act (“FOIA”) action. We write jointly with Plaintiff
International Refugee Assistance Project, Inc. (“IRAP”) in response to the Court’s order to file a
joint status report on the eighth day of each month, or if that date is a weekend or public holiday,
then on the following Monday.

       This matter concerns FOIA requests IRAP submitted to State and USCIS. The USCIS
request seeks records for case management software systems used or accessed by USCIS to
process a refugee for resettlement to the United States through the U.S. Refugee Admissions
Program. The State request seeks the same records with respect to State (“Part One” of the State
request), as well as anonymized data from individual refugee cases (“Part Two” of the State
request).

        USCIS made its first and final release of identified responsive records on July 7, 2023.
IRAP has finished its initial review of these records and is still assessing the appropriateness of
USCIS’s claimed withholdings, as well as the reasonableness of the agency’s search. IRAP asked
USCIS on June 6, 2024, to clarify why it did not identify CLAIMS 3 as a case management system
responsive to IRAP’s request. While USCIS did not originally identify CLAIMS 3 as a responsive
case management system, after discussions with IRAP, USCIS agreed to conduct a supplemental
search for responsive records regarding CLAIMS 3, which it has now completed. This
supplemental search did not return any additional records. On October 29, 2024, IRAP inquired
about the scope of the searches USCIS conducted and USCIS’s interpretation of the scope of its
request. USCIS responded to this inquiry on January 8, 2025. On March 3, 2025, IRAP informed
USCIS that the agency misinterpreted IRAP’s request as to CLAIMS 3 records; asked the agency
to reperform its CLAIMS 3 searches; requested that the agency search for responsive records for
PCQS and EDMS/STACKS based on evidence of the agency using these systems in the course of
processing a refugee application; and asked the agency to process a responsive guidance document
not yet produced. USCIS is evaluating and the parties are further discussing these requests.
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       With respect to Part One of the State request, State has identified from its first search
approximately 2,863 pages of potentially responsive records for the case management systems—
START and Refugee Processing Center Amazon Webservices (“RPC AWS”)—that it uses or
accesses to process refugees. State made its seventeenth production of records responsive to Part
One of the State request on May 1, 2025, and it anticipates making its eighteenth production of
such records by June 13, 2025. 1

        In its initial search for records responsive to Part One of the State request, State did not
search for responsive records for the case management systems that it accesses or uses to process
follow-to-join refugees due to a misunderstanding about the scope of IRAP’s request, although the
records identified in State’s initial search did include information about follow-to-join refugees.
At IRAP’s request, State agreed to conduct a second search for responsive records for the case
management systems that it accesses or uses to process follow-to-join refugees in the middle of
July 2023. It identified Immigrant Visa Overseas (“IVO”) and Immigrant Visa Information
System (“IVIS”) as the responsive case management systems to IRAP on September 7, 2023. State
tasked three components to search for responsive records—the Bureau of Consular Affairs’ Office
of Information Management and Liaison within the Directorate of Visa Services (“CA/VO/I”), the
Bureau’s Consular Systems and Technology Division (“CA/CST”), and the National Visa Center
(“NVC”). CA/VO/I returned ten records totaling approximately 1,229 pages; NVC returned nine
records totaling approximately 141 pages; CA/CST returned eight records—two excel file records
and six non-excel records, the latter of which total approximately 2,173 pages. All of these records
have been added into the queue to be processed.

        The parties continue to discuss resolving issues relating to Part Two of the State request
consensually. On January 17, 2025, State accepted IRAP’s proposal to resolve all outstanding
issues, except fees, related to Part Two, subject to USCIS’s agreement to authorize the release of
certain data. State coordinated processing of the data with USCIS, sending it to USCIS for its
review on March 31, 2025. USCIS responded to State’s request for consultation, and State
produced the data via CD mailed to IRAP on May 6, 2025.

        The parties thank the Court for its consideration of this joint status report and will file their
next joint status report by June 9, 2025. If any issue becomes ripe for summary judgment motion
practice in the meantime, the party seeking to file the motion will request a pre-motion conference
with the Court.




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  State has proposed making a good faith effort to process an average of 450 pages per six weeks
exclusive of external consultations with respect to Part One of the State request. The parties
continue to discuss issues regarding processing rate and external consultations and will raise those
issues with the Court in the future if and when the need arises.


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                                Respectfully,

                                JAY CLAYTON
                                United States Attorney for the
                                Southern District of New York

                          By:   /s/ Alyssa B. O’Gallagher
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